                 Case 2:15-cr-00702-PA Document 29 Filed 05/16/16 Page 1 of 8 Page ID #:164

                                                         United States District Court
                                                         Central District of California


 UNITED STATES OF AMERICA vs.                                                Docket No.             CR15-702 PA

 Defendant   Laith Abuzaid                                                   Social Security No. 7         4   3     8
       ABUZAID, Laith Omar
                                                                             (Last 4 digits)
 akas: ABUZAID, Leo

                                           JUDGMENT AND PROBATION/COMMITMENT ORDER

                                                                                                                    MONTH      DAY     YEAR
              In the presence of the attorney for the government, the defendant appeared in person on this date.      May       16      2016

  COUNSEL                                                                  Ken Lewis, Rtnd.
                                                                             (Name of Counsel)

    PLEA             X GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO                   NOT
                                                                                                               CONTENDERE               GUILTY
  FINDING            There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
                     Possession of Child Pornography in violation of 18 U.S.C. § 2252A(a)(5)(B), (b)(2) as
                     charged in the Single-Count Information.
JUDGMENT             The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/            contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered that:
  COMM               Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed to the
  ORDER              custody of the Bureau of Prisons to be imprisoned for a term of:

            Thirty-six (36) months. Upon release from imprisonment, the defendant shall be placed
on supervised release for a term of life under the following terms and conditions:

         1.          The defendant shall comply with the rules and regulations of the United
                     States Probation Office and General Order 05-02.

         2.          During the period of community supervision, the defendant shall pay the
                     special assessment in accordance with this judgment's orders pertaining to
                     such payment.

         3.          The defendant shall cooperate in the collection of a DNA sample from the
                     defendant.

         Computer Terms

         4.          The defendant shall possess and use only those computers and
                     computer-related devices, screen user names, passwords, email accounts,
                     and internet service providers (ISPs) that have been disclosed to the
                     Probation Officer upon commencement of supervision. Any changes or
                     additions are to be disclosed to the Probation Officer prior to the first use.
                     Computers and computer-related devices include personal computers,
CR-104 (wpd 10/15)                                 JUDGMENT & PROBATION/COMMITMENT ORDER                                                   Page 1 of 8
                Case 2:15-cr-00702-PA Document 29 Filed 05/16/16 Page 2 of 8 Page ID #:165

 USA vs.      CR15-702 PA                                        Docket No.:   Laith Abuzaid

                     personal data assistants (PDAs), internet appliances, electronic games,
                     cellular telephones, and digital storage media, as well as their peripheral
                     equipment, that can access, or can be modified to access, the internet,
                     electronic bulletin boards, and other computers.

         5.          All computers, computer-related devices, and their peripheral equipment,
                     used by the defendant shall be subject to search and seizure. This shall not
                     apply to items used at the employment's site, which are maintained and
                     monitored by the employer.

         6.          The defendant shall comply with the rules and regulations of the Computer
                     Monitoring Program. The defendant shall pay the cost of the Computer
                     Monitoring Program, in an amount not to exceed $32 per month per device
                     connected to the internet.

         Sex Offender Registration Term

         7.          The defendant shall register as a sex offender, and keep the registration
                     current, in each jurisdiction where he resides, where he is an employee, and
                     where he is a student, to the extent the registration procedures have been
                     established in each jurisdiction. When registering for the first time, the
                     defendant shall also register in the jurisdiction in which the conviction
                     occurred if different from his jurisdiction of residence. The defendant shall
                     provide proof of registration to the Probation Officer within three days of
                     release from imprisonment.

         Sex Offender Treatment Terms

         8.          The defendant shall participate in a psychological counseling or psychiatric
                     treatment or a sex offender treatment program, as approved and directed by
                     the Probation Officer. The defendant shall abide by all rules, requirements,
                     and conditions of such program. The Probation Officer shall disclose the
                     presentence report or any previous mental health evaluations or reports to
                     the treatment provider.

         9.          As directed by the Probation Officer, the defendant shall pay all or part of
                     the costs of treating the defendant's psychological/psychiatric disorders to
                     the aftercare contractor during the period of community supervision,
                     pursuant to 18 U.S.C. § 3672. The defendant shall provide payment and
                     proof of payment as directed by the Probation Officer.

///
CR-104 (wpd 10/15)                        JUDGMENT & PROBATION/COMMITMENT ORDER                      Page 2 of 8
                Case 2:15-cr-00702-PA Document 29 Filed 05/16/16 Page 3 of 8 Page ID #:166

 USA vs.     CR15-702 PA                                         Docket No.:   Laith Abuzaid


         Access to Materials Terms

         10.         The defendant shall not view or possess any materials, including pictures,
                     photographs, books, writings, drawings, videos, or video games depicting
                     and/or describing child pornography, as defined at 18 U.S.C. § 2256(8), or
                     sexually explicit conduct, as defined at 18 U.S.C. §2256(2), or sexually
                     explicit conduct involving adults, defined as explicit sexually stimulating
                     depictions of adult sexual conduct that are deemed inappropriate by
                     defendant's Probation Officer. This condition does not prohibit the defendant
                     from possessing materials solely because they are necessary to, and used for,
                     a collateral attack, nor does it prohibit him from possessing materials
                     prepared and used for the purposes of his Court-mandated sex offender
                     treatment, when the defendant's treatment provider or the probation officer
                     has approved of his possession of the materials in advance.

         11.         The defendant shall not own, use or have access to the services of any
                     commercial mail-receiving agency, nor shall he open or maintain a post
                     office box, without the prior written approval of the Probation Officer.

         12.         The defendant shall not affiliate with, own, control, or be employed in any
                     capacity by a business whose principal product is the production or selling
                     of materials depicting or describing "sexually explicit conduct," as defined at
                     18 U.S.C. § 2256(2).

         Contact with Others Terms

         13.         The defendant shall not frequent, or loiter, within 100 feet of school yards,
                     parks, public swimming pools, playgrounds, youth centers, video arcade
                     facilities, or other places primarily used by persons under the age of 18.

         14.         The defendant shall not associate or have verbal, written, telephonic, or
                     electronic communication with any person under the age of 18, except: (a) in
                     the presence of the parent or legal guardian of said minor; and (b) on the
                     condition that the defendant notify said parent or legal guardian of his
                     conviction in the instant offense/prior offense. This provision does not
                     encompass persons under the age of 18, such as waiters, cashiers, ticket
                     vendors, etc., whom the defendant must interact with in order to obtain
                     ordinary and usual commercial services.

///


CR-104 (wpd 10/15)                        JUDGMENT & PROBATION/COMMITMENT ORDER                        Page 3 of 8
                Case 2:15-cr-00702-PA Document 29 Filed 05/16/16 Page 4 of 8 Page ID #:167

 USA vs.     CR15-702 PA                                         Docket No.:   Laith Abuzaid


         15.         The defendant shall not affiliate with, own, control, volunteer or be
                     employed in any capacity by a business or organization that causes him to
                     regularly contact persons under the age of 18.

         16.         The defendant shall not contact the victims by any means, including in
                     person, by mail or electronic means, or via third parties. Further, the
                     defendant shall remain at least 100 yards from the victims at all times. If any
                     contact occurs, the defendant shall immediately leave the area of contact and
                     report the contact to the Probation Officer.

         Employment Approval Term

         17.         The defendant's employment shall be approved by the Probation Officer, and
                     any change in employment must be pre-approved by the Probation Officer.
                     The defendant shall submit the name and address of the proposed employer
                     to the Probation Officer at least ten days prior to any scheduled change.

         Search Term

         18.         The defendant shall submit his person, and any property, house, residence,
                     vehicle, papers, computer, other electronic communication or data storage
                     devices or media, and effects to search at any time, with or without warrant,
                     by any law enforcement or Probation Officer with reasonable suspicion
                     concerning a violation of a condition of supervised release or unlawful
                     conduct by the defendant, and by any Probation Officer in the lawful
                     discharge of the officer's supervision function.

       The drug testing condition mandated by statute is suspended based on the Court's determination
that the defendant poses a low risk of future substance abuse.

       It is ordered that the defendant shall pay to the United States a special assessment of $100,
which is due immediately. Any unpaid balance shall be due during the period of imprisonment, at the
rate of not less than $25 per quarter, and pursuant to the Bureau of Prisons' Inmate Financial
Responsibility Program.

       Pursuant to Guideline § 5E1.2(a), all fines are waived as the Court finds that the defendant has
established that he is unable to pay and is not likely to become able to pay any fine.

///



CR-104 (wpd 10/15)                        JUDGMENT & PROBATION/COMMITMENT ORDER                        Page 4 of 8
                Case 2:15-cr-00702-PA Document 29 Filed 05/16/16 Page 5 of 8 Page ID #:168

 USA vs.     CR15-702 PA                                                     Docket No.:       Laith Abuzaid


      It is further ordered that the defendant surrender himself to the institution designated by the
Bureau of Prisons at or before 12 noon, on July 18, 2016. In the absence of such designation, the
defendant shall report on or before the same date and time, to the United States Marshal located at the
Roybal Federal Building, 255 East Temple Street, Los Angeles, California 90012.

         Defendant advised of his right to appeal.

         Bond exonerated upon surrender.

      Court recommends to the Bureau of Prisons that the defendant be be incarcerated in a Southern
California facility.

 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
 Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
 supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
 supervision for a violation occurring during the supervision period.




            May 16, 2016
            Date                                                  U. S. District Judge Percy Anderson

 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.

                                                                  Clerk, U.S. District Court



            May 16, 2016                                    By    Stephen Montes Kerr
            Filed Date                                            Deputy Clerk



 The defendant shall comply with the standard conditions that have been adopted by this court (set forth below).

                             STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                             While the defendant is on probation or supervised release pursuant to this judgment:




CR-104 (wpd 10/15)                            JUDGMENT & PROBATION/COMMITMENT ORDER                                                   Page 5 of 8
                 Case 2:15-cr-00702-PA Document 29 Filed 05/16/16 Page 6 of 8 Page ID #:169

 USA vs.     CR15-702 PA                                                           Docket No.:        Laith Abuzaid


 1.    The defendant shall not commit another Federal, state or local crime;     10.   the defendant shall not associate with any persons engaged in criminal
 2.    the defendant shall not leave the judicial district without the written         activity, and shall not associate with any person convicted of a felony
       permission of the court or probation officer;                                   unless granted permission to do so by the probation officer;
 3.    the defendant shall report to the probation officer as directed by the    11.   the defendant shall permit a probation officer to visit him or her at any
       court or probation officer and shall submit a truthful and complete             time at home or elsewhere and shall permit confiscation of any
       written report within the first five days of each month;                        contraband observed in plain view by the probation officer;
 4.    the defendant shall answer truthfully all inquiries by the probation      12.   the defendant shall notify the probation officer within 72 hours of
       officer and follow the instructions of the probation officer;                   being arrested or questioned by a law enforcement officer;
 5.    the defendant shall support his or her dependents and meet other          13.   the defendant shall not enter into any agreement to act as an informer
       family responsibilities;                                                        or a special agent of a law enforcement agency without the permission
 6.    the defendant shall work regularly at a lawful occupation unless                of the court;
       excused by the probation officer for schooling, training, or other        14.   as directed by the probation officer, the defendant shall notify third
       acceptable reasons;                                                             parties of risks that may be occasioned by the defendant’s criminal
 7.    the defendant shall notify the probation officer at least 10 days prior         record or personal history or characteristics, and shall permit the
       to any change in residence or employment;                                       probation officer to make such notifications and to conform the
 8.    the defendant shall refrain from excessive use of alcohol and shall not         defendant’s compliance with such notification requirement;
       purchase, possess, use, distribute, or administer any narcotic or other   15.   the defendant shall, upon release from any period of custody, report
       controlled substance, or any paraphernalia related to such substances,          to the probation officer within 72 hours;
       except as prescribed by a physician;                                      16.   and, for felony cases only: not possess a firearm, destructive device,
 9.    the defendant shall not frequent places where controlled substances             or any other dangerous weapon.
       are illegally sold, used, distributed or administered;




CR-104 (wpd 10/15)                                   JUDGMENT & PROBATION/COMMITMENT ORDER                                                             Page 6 of 8
                Case 2:15-cr-00702-PA Document 29 Filed 05/16/16 Page 7 of 8 Page ID #:170

 USA vs.     CR15-702 PA                                                         Docket No.:      Laith Abuzaid


             The defendant will also comply with the following special conditions pursuant to General Order 01-05 (set forth below).


                 STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant shall pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment pursuant to 18 U.S.C. §3612(f)(1). Payments may be subject
 to penalties for default and delinquency pursuant to 18 U.S.C. §3612(g). Interest and penalties pertaining to restitution, however, are not
 applicable for offenses completed prior to April 24, 1996.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant shall pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. §3613.

          The defendant shall notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. §3612(b)(1)(F).

         The defendant shall notify the Court through the Probation Office, and notify the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. §3664(k). The
 Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim, adjust
 the manner of payment of a fine or restitution-pursuant to 18 U.S.C. §3664(k). See also 18 U.S.C. §3572(d)(3) and for probation 18 U.S.C.
 §3563(a)(7).

           Payments shall be applied in the following order:

                     1. Special assessments pursuant to 18 U.S.C. §3013;
                     2. Restitution, in this sequence (pursuant to 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United
                       States is paid):
                               Non-federal victims (individual and corporate),
                               Providers of compensation to non-federal victims,
                               The United States as victim;
                     3. Fine;
                     4. Community restitution, pursuant to 18 U.S.C. §3663(c); and
                     5. Other penalties and costs.

                               SPECIAL CONDITIONS FOR PROBATION AND SUPERVISED RELEASE

          As directed by the Probation Officer, the defendant shall provide to the Probation Officer: (1) a signed release authorizing credit report
 inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure; and (3) an accurate financial statement, with
 supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant shall not apply for any loan or open
 any line of credit without prior approval of the Probation Officer.

           The defendant shall maintain one personal checking account. All of defendant’s income, “monetary gains,” or other pecuniary proceeds
 shall be deposited into this account, which shall be used for payment of all personal expenses. Records of all other bank accounts, including any
 business accounts, shall be disclosed to the Probation Officer upon request.

         The defendant shall not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                These conditions are in addition to any other conditions imposed by this judgment.




CR-104 (wpd 10/15)                               JUDGMENT & PROBATION/COMMITMENT ORDER                                                        Page 7 of 8
                Case 2:15-cr-00702-PA Document 29 Filed 05/16/16 Page 8 of 8 Page ID #:171

 USA vs.     CR15-702 PA                                                         Docket No.:      Laith Abuzaid




                                                                     RETURN

 I have executed the within Judgment and Commitment as follows:
 Defendant delivered on                                                                      to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                               By
            Date                                                     Deputy Marshal




                                                                  CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.

                                                                     Clerk, U.S. District Court


                                                               By
            Filed Date                                               Deputy Clerk




                                                 FOR U.S. PROBATION OFFICE USE ONLY


Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.

         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


         (Signed)
                     Defendant                                                      Date




                     U. S. Probation Officer/Designated Witness                     Date




CR-104 (wpd 10/15)                               JUDGMENT & PROBATION/COMMITMENT ORDER                                                      Page 8 of 8
